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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

            KEITH ERNST, ARTHUR
            OGANESYAN, and ALAN NAH,
            individually and on behalf)
            of all others similarly    )
            situated,


                           Plaintiffs,


                 vs.                         No: 2:18-CV-9043 RGK(MRWX)


            ZOGSPORTS, an unknown
            business entity; and DOES
            1-50, inclusive,


                           Defendants.




                         DEPOSITION OF MICHAEL MORTELLARO
                             BEVERLY HILLS, CALIFORNIA
                                   DECEMBER 11, 2018

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            Reported by:     Vicki Resch, RPR, CSR 6645




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                                                                     Page 19
       1    we'll produce it if it's something that we have.
       2    BY MR. YADIDSION:
       3         Q     Have you looked in

       4         A     We don't have a legal entity structure on
       5    paper, but I'm happy to talk through it with you.
        6        Q     Okay.   Sure.
       7                So what is the legal entity that operates or

       8    owns the San Francisco operations?

       9         A      So there's an LLC for each of those.        So the
      10    answer to your question is the same for each of those,
      11    which is that there is as separate LLC for each of

      12    them.     So it's ZogSports SF, LLC and then that
      13    methodology would carry through for each of the ones
      14    that I told you.

                 Q      So I believe we've identified -- or you've
      12    identified San Francisco, San Jose, Los Angeles,
      12    New York, New Jersey, DC, Atlanta and Chicago.

      18         A     Yes.    So each of those are their own legal
      19    entity.     ZogSports, then the two- or three-letter
      20    identifier that I told you, and then LLC would be the
      21    name of each legal entity.
      22         Q      So what's the legal entity for San Francisco?

      23         A      ZogSports SF, LLC.
      24         Q      San Jose?
      25         A      ZogSports SJ, LLC.




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                                                                     Page 49
       1         A      ZogSports Holdings, LLC.
       2         Q      And can you describe what ZogSports is?
                        Sure.   ZogSports, originally, back in 2002,
       i    was just a social sports league for young
       2    professionals, which is still a core part of our
       Q    business.     I'm going to tell you the whole story
       1    because it's going to come out at some point anyway.
       ~                So our founder started the company after a
       2    near-miss on September 11.       He was 15 minutes late to
      1Q    work, and as a result, was on the ground looking up
      11    when the plane went into the tower that he was working
      1£    for, Marsh & McLennan.      Three hundred people did not
      11    make it out that day.
      14                He obviously was shocked, spent the next
      12    several months thinking about what he wanted to do
      lQ    with his life, what he had done up to that point, what
      11    he had done for his career, and decided that he had to

      ~     do something else.
      12                Back then, late 2001, early 2002, he
      ~     reflected on the things that he loved to do in his
      £1    life.    He loved playing co-ed sports.       He had met his
      ££    wife playing co-ed softball.       And he himself cared
      23    about giving back to the community and was looking for
      2i    a new way to do so, finding a way for other people to
      25    give back to the community.




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                                                                       Page 50
       1                And so he decided to create ZogSports in 2002
       2    with the three pillars of the company as sports,
       }    social and charity.      The core business was social
       i    sports leagues for young professionals.          It started In
       2    New York.     It has grown into seven different markets.
       6                The reason behind the company is still the
       7    same as it was back then, which is that we believe
       8    life is better with real personal actions of caring,
       9    community, and a sense of play in your life, and we
      10    are looking for ways to do that for people.
      11                So it's not just about the sports league,
      12    it's about the sports, social and charity.          And
      13    everything we do is really revolving around those
      14    three pillars.     And now we're looking for new ways to
      15    do that for people.      So the ZogCulture business is a
      16    way to fulfill that mission in the workplace.             And
      17    some day, we hope to have other ways that we can do
      18    that for people, real personal connections.
      19                Practically, when you say what is ZogSports,
      20    it's a social sports league for young professionals
      21    running a number of different sports.         But it's not
      22    just the sports league.       It's got that mission behind
      23    it.   It has a happy hour after every game.         People
      24    play for a charity.      We have donated somewhere between
      25    $3 and $4 million dollars to our customers' charities




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                                                                         Page 51
       1    since we started the company.
       2           Q     And you mentioned the target demographic is
       3    young professionals?
       4           A      Primarily.     Call it 22- to 40-year-olds,
       5    young professionals, co-ed.           Almost everything we do
       6    is co-ed, again, because of the social component.
       7           Q     And is it intended for participants to have
       8    fun?
       9           A     That's one of the intents.           Fun is one of our
      10    six core values, trying to make sure that the people
      11    who work for the company and the participants have
      12    fun.       But it's definitely much bigger than just having
      13    fun.
      14           Q     What are the core principles of your company?
      15           A      Sure.     We have six core values that guide the
      16    entire company and guide everything we do, every
      17    decision we make.          They guide the full-time employees
      18    and they guide our field team.               They are fun, team
      19    player, caring, reliable, own it.
      20           Q      Own it?
      21           A      Own it, two words.
      22                 And continuous improvement.
      23           Q     And what are some of the reasons why someone
      24    might join ZogSports?
      25                 MS. HEALY:      Objection.       Speculation.




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                                                                     Page 55
       1    play with, but you really feel like you're part of the

       2    ZogSports community when you play in our leagues.             And
       3    we try to do what we can to have you meet people on

       4    other teams so that you're really becoming a part of a

       5    community.     We hear a lot of stories about people who

       6    got a job because they met somebody at a happy hour
       7    after a ZogSports game.

       8               So it's very fulfilling to work there because

       9    there are so many different reasons why people play.

      10    But I think it all really boils down to that mission,

      11    which is real personal connections, a caring community

      12    and a sense of play in people's lives.

      13               One last thing.     Some people play because of
      11    the charity aspect, which is -- we call it "Play For
      l.2   Your Cause."     Play For Your Cause is a way that people

      12    can choose a charity.      Each team is asked to choose a

      11    charity to play for.      So if you were to win your

      ~     division or corne in second place, or in some leagues
      ~     we have off-the-field awards, you can win money for
      £Q    your charity.     And then we donate to the charities of

      £1    our participant's choice.       Certainly not the number
      ££    one reason why people play, but it's potentially a
      23    reason why they play with us.

      24         Q     Are you aware of anyone who joined ZogSports
      25    because they wanted to volunteer as a referee?




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                                                                         Page 56
        1        A      I'm not aware of that.
        2        Q      Do you market to people, potential ZogSports
        3   participants, by asking -- by marketing them as
        4   potential volunteer referees or asking them to join as
        5   volunteer referees?
        6        A      Not that I'm aware of.
        7               MS. HEALY:   Objection.       Vague.
        8   BY MR. YADIDSION:
        9        Q      Do participants have to pay to join the
      10    league?
      11         A      Yes.
      12         Q      And, generally, how much is it?
      13         A      It varies by market, by sport.         I want to go
      14    into the two different main ways to participate,
      15    because there's a difference.         The answer is different
      16    for each.
      17                So there are two different ways that you can
      ~     register for a ZogSports league.           One is what we call
      ~     a full team.       In that case, there is one purchaser who
      20    represents the whole team.        A purchaser is sometimes
      £1    referred to as the captain, and that person spends a
      l£    ballpark between $800 and $1,500 for a team.            It
      23    varies widely based on the market, based on the sport.
      £i    That's a pretty good range.        And that person is
      25    raising their hand and saying, I'm in charge of this




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                                                                     Page 57
       1    team.    It is then their commitment and responsibility
       £    to go out and recruit, depending on the sport,
       1    anywhere from seven other people to 19 other people
       i    that are going to be on their team.
       5               And they are responsible for that team in
        6   terms of recruiting, communication, they may work with
       7    their team to decide to share that responsibility.
       8    But ultimately, we look at them and they look at
        9   themselves as the person responsible for the team.
      10               They, separate from us, would collect money
      11    from the members of their team.          And that's something
      12    that is between them and their friends on their team.
      13    We do ask that they all sign up for our mailing lists
      14    so that we can communicate with all of them, but they
      15    don't always do that, so we really make sure that we
      16    communicate with that captain.
      17               That purchaser, slash, captain can also ask
      18    another friend to also become a captain.          There can be
      19    multiple captains on a team that can share this
      20    responsibility to recruit to make sure each week that
      21    we have the right number of people so that we don't
      22    forfeit and so that it is a full team.
      23               The second way that somebody can participate
      24    is through -- we call it free agent registration.
      25    They could come to the same website and see the same




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                                                                             Page 58
        1    league, the same rules on the website, but essentially

        ~    there's a fork in the road where they can either say,

        1    I feel like I have the ability to recruit an entire

        4    full team, or I don't,       I just moved to town and I

        2    don't know anybody and I just want to meet people or

        Q    playa sport.      Or,    I have two,   three,    four,   five

        1    friends who want to play, but that's not enough for a

        Ji   whole team.

        2                So that one person or that group of people

       lQ    sign up as a free agent, anywhere from $65 to $150,

       11    ballpark.     And that person would register, they would

       1£    have a choice to put in other people who they want to

       11    be on their team.        They would have a choice of either

       11    paying for those people or not paying for those

       12    people.     Either way, as long as they have told us who

       16    they want to play with, we will put them on a team

       11    together.

       18        Q       How many seasons do you have every year?

       19        A       A minimum,    I would say, of four,      generally,

       20    for each sport.     In some cases, we are able to run --

       21    like instead of just having one fall season, we may

       22    have two fall seasons back to back.             So four to six is

       23    probably the best guess I could give you.

       24        Q       I don't want you to guess, but your best

       25    answer is four to six, right?




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                                                                        Page 62
        1         A      Yes.

        2         Q      And ZogSports still is operating in

        3    San Francisco and Los Angeles?

        4         A      Yes.

        5         Q      What about San Jose?

        6         A      San Jose, we purchased a company that we

        7    closed the acquisition in May of 2018.             The name of

        8    the company was Dynamic Sport & Social, I believe.                 So

        9    that is when we officially started operating in

       10    San Jose.

       11         Q      And you're still operating there?

       12         A      Yes.

                  Q      Do you have volunteer referees in San Jose?

                         MS. HEALY:     Objection.     Vague.

                         THE WITNESS:     We do not have volunteer

       12    referees in San Jose.

       17    BY MR. YADIDSION:

       18         Q      Is that because Dynamic Sport & Social did

       19    not have volunteer referees?

       20         A      Dynamic Sport & Social, the company that we

       21    acquired that we were not affiliated with, did have

       22    volunteer referees when we acquired it.

       23         Q      And is Dynamic Sport & Social a for-profit

       24    company?

       25         A      Yes.   When we purchased it, yes.         And keep in




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                                                                      Page 63
        1    mind, we purchased the assets of the company rather

        2    than the entity itself.

        3        Q       I'm sorry.     Do you have volunteer referees in

        4    San Jose?

                 b.      Not right now.

                 Q       Is there a reason why you don't?

                 A       We no longer have volunteer referees.

        &        Q       At any location?

        ~        A       Correct.

       10         Q      Why is that?

       11        A       Let me give you a good answer for this.         I

       12    want to go back to -- I want to explain why we had

       13    them in the first place.

       14         Q      We'll get to that.     Let me

       15        A       It's hard for me to answer why we don't have

       16    them now without giving a full explanation as to we

       17    why we had them in the first place.

       18         Q      When did you stop having volunteer referees?

       19         A      When did we stop?     It varies by market.      In

       20    San Francisco and Atlanta,       it was approximately two

       21    years ago.

       22         Q      I'm sorry.     Atlanta and San Francisco?

       23         A      Yes.

       24         Q      What about Los Angeles?

       25         A      Everywhere else,    just to make it easier for




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                                                                      Page 76
        1        Q     A volunteer referee.      And what do you mean by
        l    a volunteer referee?
                       So the volunteer referee program is really a

        i    rule more than a program.       It is a rule in our --

        2    several of our leagues that asks each team to provide
        Q    one member of their team to perform volunteer referee

        1    duties.
                 Q     Okay.
                       The reality of what we might hope that they

       1Q    would do over the years has been very different and
       11    variant based on market, league, and the paid referee

       12    who is ultimately in charge of the field that day.
                       They are asked to hold a stopwatch.         One of
       11    them -- there's two.      There are two volunteers.       The

       12    reality is there might be none, there might be one,
       lQ    and there might be two, because they don't always show


       18              There's a huge variance on what the knowledge
       ~     of football would be for any person who volunteers.
       £Q    We might have somebody who shows up who has been
       £1    playing ZogSports football for many years and knows
       ££    the rules inside and out.       And there might be somebody
       23    who, that's their first experience, and they don't
       £i    know anything about the rules.
       25              So that's why I say there's a huge variance




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                                                                      Page 77
        1    on what they actually might be asked to do versus what
        £    we might have thought they could do.         Ultimately, that
        1    is the paid referee's job, is to instruct each of the
        i    volunteers what their role would be in that game.
        2    Because the paid referee is ultimately accountable and
        Q    the one who is the referee on the game.
        7               So each of them are given a stopwatch.         One

        ~    of them would be keeping the play clock, we call it,
        2    which is to ensure that -- I think it's every
       lQ    25 seconds a new play happens or 25 seconds between
       11    plays.    And the other would be keeping the game clock.

       1£    Now, again, it might vary greatly depending on their
       13    knowledge.
                        In my experience, I have played in the
       12    leagues and I've been a volunteer myself many times.
       lQ    There were really only three things that I was doing.
       11    One was the clock, two was keeping an eye on the
       1Q    out-of-bounds line near me to see if somebody stepped
       12    over or in front of it, so if they were in or out of
       .£Q   bounds.
       £1               And third was if there was a play right in
       22    front of me that was not right in front of the paid
       £1    referee, was the person touched with two hands, one
       £i    hand or no hands.     But the referee was ultimately
       £2    the paid referee was ultimately the one who would make




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                                                                      Page 78
        1    all of the decisions with perhaps a little bit of help
        £    from the volunteers.

        3              Now, that could,     like I said, vary greatly

        4    depending on the knowledge of the volunteers

        5    themselves.    But our expectation was that they would

        6    do those three things.

        7              There could be a volunteer who would try to

        ~    do more, and that would be up to the paid referee to

        ~    make the decision of whether or not they would defer
       lQ    to a volunteer to make any other calls.         But

       11    ultimately, that was the paid referee's job and

       1£    ultimate decision to make every call.         They're really

       11    an extra set of eyes to assist the community that's

       11    playing there that day.

       15              I want to take it back to 2002 and talk about

       16    why we have the volunteer referee rule in the first
       17    place.   Two reasons.     One is -- I know it's a question

       18    that you plan on asking, and two,        I think it's very

       19    relevant to what their responsibilities are.
       20        Q     So why did you -- we'll get into that later

       21    unless
       22        A     Let's just do it now --
       23        Q     Actually,   I'll get to it later.
       24        A     -- because it's --

       25        Q     There's no question.




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        1        A          very relevant to what the responsibilities
        2    are, so I'd like to talk about why we started the
        3    program.
        4        Q       We'll get into that in a little bit.       I just
        5    wanted to get a
        6        A       I will add that many games do not have a

        1    volunteer because they don't show UP.         We don't have

        8    any record of that, so I can't tell you how many games
        9    did or did not have a volunteer.         I can just say that

       10    as a participant and as a coach of all the general

       11    managers,    I'm aware of the fact that many times they

       12    did not show up.     We do have a penalty in our rules
       13    for not showing up that is sporadically enforced.
       14                So the paid referee is ultimately the one

       15    who's responsible for the game and can manage a game

       16    without any volunteers, which is, when I said earlier
       17    today that we don't need volunteers, that's a part of
       18    the reason why, because we have had many times where a

       19    paid referee has managed a game themselves.
       20                And secondly, right now, we don't have any
       21    volunteers, and the leagues are running just fine with

       22    just the paid referee.
       23        Q       Okay.   So ZogSports uses referees, rights?
       24        A       ZogSports uses a paid referee on every game.
       25        Q       And why does ZogSports use referees?




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        1        A     We would coach them to do a better job.
        2        Q     So you want them to make the right calls,

        3    right?

        4              MS. HEALY:     Objection.     Asked and answered.

        5              THE WITNESS:     I've already answered.
        6   BY MR. YADIDSION:

        7        Q     You can answer it again.

        8        A     Yes.

        9        Q     And you classified some of these employees
       10   excuse me -- some of these referees as employees,

       11    right?

       12              MS. HEALY:     Objection.     Argumentative.
       13              THE WITNESS:     The paid referees are

       14   employees.     The volunteers are not.

       15   BY MR. YADIDSION:

       16        Q     And did ZogSports also reguire participants

      11     to volunteer as referees?



                 Q     What do you mean by that?
                       ZogSports has never reguired any individual
       21    to do anything regarding volunteering.         ZogSports asks

       ££    the team to provide one volunteer.         It is now up to
       23    that team to decide who that individual is, so we do
       £i    not reguire any individual to volunteer.
       25        Q     And ZogSports did not compensate these




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                                                                      Page 94
        1                            AFTERNOON SESSION
        2

        3               (Whereupon, at the hour of 1:26 p.m., the
        4               proceedings resumed at the same location,

        5               with the same parties in attendance.)

        6

        7                        EXAMINATION (Resumed)

        8    BY MR. YADIDSION:

        9        Q      We're back on the record.

       10               I'd like to remind you that you are still

       11    under oath.

       12               You understand that?

       13        A      Yes, sir.

       14        Q      So did ZoqSports require participants to

       12    volunteer as referees?

                        No.   ZogSports put a schedule out for when

       11    people are to play their qames.           Part of that schedule

       ~     for some of our leagues where we have volunteer

       12    referees in the rules was to stay for each game which

       £Q    team was responsible for providing a volunteer

       £1    referee.

       22        Q      Did your rules state that volunteer referees

       23    are required?

       24               MS. HEALY:     Objection.      Vague.

       25               THE WITNESS:     Our rules state that each team




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                                                                      Page 95
         1    is to provide a volunteer referee, and if they don't,
         2    that there would be a penalty for their team.
         3    BY MR. YADIDSION:
         4        Q       And did it say that it's required?      Did you

         5    use the word "required"?

         6        A       I would have to actually look at the rules.

         7    I'd be happy to -- we provided them.        I do not know if

         8    the word "required" is in there.
         9                One thing that I want to say is that -- you

       10     asked me before if the volunteer referees were

       11     enforcing the rules, and I said no.       And the answer is

       12     no, but I want to make sure I explain it since we went

       13     to break.
       14         Q       So I'll ask you

       15         A       Yes, ask me the question again.
       16         Q       -- are volunteer referees enforcing the game

       .11.   rules?
                          No.   The paid referee is 100 percent

       ~      responsible for enforcing the game rules.        The reason
       £Q     that we cannot have the volunteer referees enforce the
       21     game rules is that many of them don't even know the

       £2     rules.   They certainly don't know all the rules.          They
       23     can be a separate set of eyes and ears on the field,
       24     but it is 100 percent the responsibility of the paid

       £2     referee to enforce the game rules.




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        1                And in the cases where we have eliminated the

        2    rule for volunteer referees, nothing changes for the

        1    paid ref except they don't have that second set of

        4    eyes.

        5        Q       Do volunteer referees assist the paid

        6    referees in enforcing the game rules?

        7                MS. HEALY:     Objection:     Speculation.

        8                THE WITNESS:     I think I already answered the

        9    question.

       10    BY MR. YADIDSION:

       11        Q       You can answer it.

       12        A       The paid referee is responsible for -- is

       13    100 percent responsible for enforcing the game rules.

       14    The volunteer referees are an extra set of eyes, not

       15    to enforce the rules, but to help with primarily two

       16    to three things out of probably -- we'd have to look

       17    at the rules.     There's probably a hundred things that

       18    the paid referee is responsible for.           We ask for

       19    assistance with the clock, out of bounds, and touch

       20    versus no touch.
       21        Q       So would it be accurate to state that the

       22    volunteer referees were assisting the paid referees in

       23    enforcing the game rules?
       24        A       I've already answered the question.
       25        Q       Is that a yes or no?




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        1    team.   That is a commitment they have made.
        2              So again, the captain has a commitment to
        3    recruit their team.     They have to spend time on that.
        4    They have to spend time on that in their free time
        5    recruiting their team.      The team has a commitment, and
        6    each member of that team has a commitment as a team to
        7    the league, to the community that they have signed up
        8    for, to show up for their games so that they don't let
        9    that community down.
       10              All of that is similar to the volunteer
       11    referee commitment.      It is no different.     We are
       12    asking them as a member of the community to show up
       13    for their community.      And there is no, ever
       14    expectation that for all of those, as you call them,
       15    duties, that anybody will be paid.        Nobody thinks
       16    they're going to get paid.       Nobody has an expectation
       17    that they're going to get paid for all these
       18    commitments that are made.
                       The volunteer referee is, in fact, a lighter
       £Q    commitment than forfeiting.       So, for example, if your
       £1    team does not show up for a game, the penalties are in
       22    the rules.    They are harsher for forfeiting than they
       £1    are for your team not providing a volunteer referee.
       24              We are not talking about whether or not --
       25    showing up to play in your game, whether or not that




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                                                                     Page 103
        1    was an employer-employee relationship between us and
        2    whether or not we should have been paying them,
        3   because that would be absolutely ridiculous.            It's
        4    just as ridiculous to say that somebody who signed up

        5    for a commitment to be a -- to play in a league where

        6    they are asked to volunteer, their team is asked to
        7    volunteer,   just like they're asked to show up,        just
        8    like they're asked to recruit, it's something that you

        9    have signed up for.     And you never had any
       10    expectation, and no reasonable person had any
       11    expectation, and we have no feedback over the years,

       12    including from you in your first,          second, third,

      11     fourth,   fifth, sixth, seventh or eighth or ninth or
       11    tenth season that you played and that you probably
      12     were a volunteer referee, we never heard, where's my

       12    pay, because there was never any expectation of a
       17    volunteer being an employee of the company.
       18              That is my long explanation.          I apologize for
       19    getting fired up.     I'm sorry about that.        But this is
       20    very emotional for me because it is so against what
       21    the community is all about.         And people are there to
       22    help each other.
       23               I'm going to go back to 2002.
       24        Q     Wait.    Are you talking about something else?
       25        A      I'm talking -- can you restate the question




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                                                                       Page 128
        1    San Francisco and Atlanta two years ago.           That's what
        2    we decided we do across the board now.          And that's
        3    ideal for a number of reasons.
        4        Q      To avoid lawsuits?
        5               MS. HEALY:   Objection.       Argumentative.     I'm
        6    going to instruct him not to answer that.
        7    BY MR. YADIDSION:
        8        Q      So why is it -- was it ideal before this
        9    lawsuit?
                        So the reason why we have the volunteer
       11    referees in the first place is,          I think, the answer to

       1£    how things have changed.
      11                So back in 2002, we talked about Rob's
       11    near-miss on September 11, looking for a way to give
      12    back to the community.       He was afraid that what people
       lQ    were feeling in New York at the time was not going to
       11    last.   People were looking for a way to give back.
       1&    People were looking for a way to give back to the
       ~     firefighters, to the police officers, the families.
       2Q    They were looking for a way -- like never had happened
       £1    before, they were looking for a way to come together.
       22    And Rob was afraid that that wouldn't last.
       £1               So he thought that ZogSports would be a way
       Zi    for that to last both by creating a community and by
       22    giving people a way to give back to charity and giving




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                                                                    Page 129
        1     people a sustainable way to do something they love
         2    doing and give back to charity at the same time.

        1                 So he started to start ZogSports.      He told
        i     all of his friends.     He --
                  Q       I'm sorry to interrupt, but I'm just asking

        £     about the volunteer referees.

        1                 I'll get there.
        jl               He --

        .2.       Q       I don't need to know about the history
       lQ                You don't care, I guess.

       11         Q      That wasn't my guestion?

       11.                I'm going to get there.

       11                 So he told all his friends, did some
       11     networking and was expecting probably 30 people to
       12     show up on that first day of football.
       1£                And he got out to the field and he, A, didn't
       11     have time, nor did he really even think to hire a paid
       1Jl    referee the way that I just described it.         That's all
       1.2.   evolved.
       20                 But back then, that first day, he was just
       21     looking for a way to bring the community together.             So
       22     he showed up at the field expecting 30 people to show
       £}     ~       He didn't have an online system, so it was all
       £i     just networking.
       £2                 So that day, 500 people show up to support




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                                                                     Page 130
        1    New York, to support him, to support his cause.           There
        l    were 500 people on the field that day, and that was
        1    the start of the ZogSports community.         And they all
        i    looked around and they said, what are we going to do?
        2    There's 500 people here.       How are we going to play
        ~    football?     We don't have any referees.      And they all
        1    said, wow, we'll help the community.
        ~                And that's where the volunteer referee
        ~    program started, by people wanting to help their
       lQ    community after September 11.       And that was the spirit
       11    of it.   It was a community.      It was a social thing for
       II    them to help each other and help their community.             And
       11    that's the way I just described it to you, which is
       11    that there is a commitment to your league and a
       12    commitment to your community.       And it was nothing else
       lQ    other than that from the start until now.         And that's
       11    what you're attacking.
                 Q       Are you done?


                 Q       Go ahead.
                         So back then it was about a community coming
       22    together and helping each other.         And that was always
       23    our hope, is that that's the way the volunteer referee
       li    rule would continue, and it became less important over
       25    the years.     We had people who didn't know the rules.




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                                                                     Page 131
        1    And I would say a very large portion of the volunteers
             don't know the rules.      People wouldn't show up for
        }    their volunteer responsibilities, and we didn't keep
        i    track of it.     We didn't even penalize.        We stopped
        2    penalizing for most of our leagues.

                       And so it wasn't something we needed.          We had
        7    no financial benefit to having it.          We can have a game
        ~    refereed with one referee, which we've proven before
        ~    we eliminated it and after we eliminated the rule.
       lQ    And so that's the answer to the guestion of why we

       11    don't have them, is because back in the day, there was
       1l    a very specific social reason why it existed, to help

             the community.     That we have seen dissipate.        It was
       11    very much nice to have, but certainly not necessary.
       15    And rather than fight with you about it, we could
       12    either have kept it going and said, believe us, we
       11    don't need it, or we could stop it and say, look, we

       ~     don't need it, which we don't.           The proof is we don't
       ~     have it anymore.     And it's not because of the lawsuit
       lQ    because we had it stopped two years ago in Atlanta.
       £1    We had it stopped two years ago in San Francisco.             Our
       22    football sales have been going down every year, so
       £J    we've been -- and that's a macro effect because we
       ~     actually talked to our competitors in all different
       £2    cities, and football has been going down.




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                                                                      Page 141
         1    many people could have volunteered.

         2    BY MR. YADIDSION:

                  Q       And ZogSports never recorded the hours
        ~     volunteered by volunteer referees, right?

                          MS. HEALY:     Objection to the extent that that

        2     calls for a legal conclusion or expert opinion.           He

         7    can testify as to his understanding.
                          THE WITNESS:     Can you please repeat the

        i2.   guestion?
       1Q                 MR. YADIDSION:     Can you read it back?

       1.1                (Record read.)

       l2.                THE WITNESS:     ZogSports doesn't have any way

       11     to know who volunteered.
       14     BY MR. YADIDSION:

       .u.        Q       So ZogSports never recorded it?

       l.§.               Correct.

       11         Q       And that's throughout California?

       ll.                Correct.

       .li        Q       And that's throughout the United States?

       £Q         A       To my knowledge, yes.

       21         Q       And ZogSports has never maintained records of
       22     hours worked by any of the volunteer referees, right?
       23                 MS. HEALY:     Objection.     That's argumentative.

       24     It assumes facts not in evidence, and it contains
       25     legal conclusions that are highly disputed in this




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                                                                     Page 143
         1    wage document --
         2        Q    That's a fair point.
         3             So ZogSports never issued wage statements to
         4    any volunteer referees for volunteering as referees,
         5    right?
         6        A    Correct.
         7        Q    And that's throughout California?
         8        A    Correct.
         9        Q    And that's throughout the United States?
       10         A    Correct.
       11         Q    Does ZogSports maintain records of all
       1£     individuals who have registered for or participated in
       11     its sports or activities?
                       Registered for, yes.       Participated in, no,
       12     because oftentimes somebody may show up who is not
       1.2.   registered.
                  Q    Has ZogSports maintained records of all
       1&     individuals who have registered for its sports or
       11     activities since 2014?
                  A     I just want to explain it with a couple
       £1     sentences because --
                       MS. HEALY:     Go ahead.
                       THE WITNESS:     The general answer is yes.         But
       £i     for the paid teams, it's up to the captain to put
       25     their roster in.    So that's not technically




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                                                                     Page 144
         1    registering.      And they mayor may not fill out their

        2     roster fully.

        }               So what we have are the records of the people

        i     who have paid, plus the people who have paid for a
        2     full team, whatever they said their roster was.          They

        ~     have up to two weeks after the start of the season to

        1     change it.     So on the full teams, our record of who
        ~     registered is not complete.

        2     BY MR. YADIDSION:

       1Q         Q     Okay.     So what type of information does the

       11     captain need to provide for each of the individuals on

       12.    the roster?

       11         ~     Just name and email address.

       II         Q     What about physical home address?

       12         ~     The captain does not do that.

       1.2.       Q     Do the participants do that at any point?

       11         ~     They are asked to.      We would like them to,

       ll.    but we don't reguire it.

       1.2.       Q     What about phone number?

       £Q               Same.

       21               MS. HEALY:     Is now a good time to take a

       22     break?
       23               MR. YADIDSION:     If you'd like to, sure.

       24     We'll go off the record.

       25               (Recess.)




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                                                                     Page 145
        1     BY MR. YADIDSION:

        2         Q     I just want to go back to what we were
        3     discussing earlier.

        4               So does ZogSports maintain a record of all
        2     individuals who have registered for sports or

        .2.   activities?

        1               I think I answered it already, which is we
        &     have a record of everyone who paid, which is all

        ~     almost all of the free agents and the purchasers of

       lQ     the teams, but we have little control over how they

       11     fill out their roster.     We ask them to fill it out.

       1£     We don't require it.

       13               So we have some teams that have just one

       11     person on them and we have some in the complete

       12     opposite direction, which is like a company who puts
              50 people on their roster.      So the blanket statement

       11     that we have a record for everyone who registered is

       1&     hopefully clarified by that explanation.
       ~                The general answer is yes, but we don't have
       20     a record of everyone who played because of the fact

       £1     that the rosters are controlled by the purchaser, and

       22     that's like 80 percent of our participants are on
       23     those full teams.
       24         Q     So to summarize, you have a record -- you

       25     don't necessarily have records of everyone who




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                                                                      Page 147
        1    actually have all that other information.

        2    BY MR. YADIDSION:

        3         Q      Do these records indicate which sports or
        4    activities they participated in?

        5         A      It's a different record.         So there's the kind

        6    of account information, which is what we just talked

        7    about.   And then there's like the registration

        8    information, which is -- which connects each account

        9    to the league that they have signed up for.           And each

       10    league is associated with a sport.

       11                Does that make sense?

       12         Q      Right.     So you could connect those databases?

       13         A      Yes.

       14         Q      And you previously identified which sports or

       15    activities have volunteer referees, right?

       16         A      Yes.     And we provided that to you.

       17         Q      And these records indicate the locations

       18    where they participated or registered?

       19                MS. HEALY:     Objection.      Vague.

       20                THE WITNESS:     I think it's in the records we

       21    gave you.     If it's not        I think we have a column in

       22    the records we gave you.
       23    BY MR. YADIDSION:
       24        Q       So to the best of your recollection, the

       25    records indicate where participants have registered,




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                                                                         Page 148
         1     right?
                           Yeah.

                   Q       So using these records, would you be able to
         i     compile lists which include the names and last known
         2     contact information of all ZogSports participants
         2     throughout the United States since September 2014?

         1                 For -- specifically for leagues where there
         Q     were volunteers?

                   Q       My question is more general.        For all
       lQ      ZogSports participants.

       11
       12          Q       And based on ZogSports records, could you
       13      also identify all individuals who have potentially

       11      volunteered as a referee?
                           No.
                           MS. HEALY:     Objection.     Speculation.
       11      BY MR. YADIDSION:
                   Q       Why not?
                           MS. HEALY:     Asked and answered.     He already
       2..Q.   answered.
                           THE WITNESS:     I think there are two reasons.
                           I'm sorry.     Please restate the question.
       £l      BY MR. YADIDSION:

                   Q       Sure.   So based on ZoqSports' records, could
       £2      you identify all individuals who could have




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                                                                      Page 149
        1     potentially volunteered as a referee?

                            There is nothing -- we don't have a report
        1     right now that can do that.
                     Q      Right.   But would you be able to generate
        2     that type of work?

                            Not without IT support.      There is data that
        7     could be connected, but we don't have that data right
        Q     now.       So the answer is no.    But could we, the answer
        .2.   is yes.
                     Q      So without proper IT support, you could
       11     compile that list, right?
                           We could compile the list of all the people
       11     who played in leagues where, in the rules, there was a
       11     volunteer referee reguest.
                     Q     And is that since September 2014?


                     Q     And the list includes the last known contact

       lQ     information to the extent it is reported, right?
                            To the extent it is reported, with the caveat
       2Q     that for the roster members may not have anything more
       £1     than email address and name.
                     Q     And is this throughout the United States?


                     Q     And ZogSports does not keep any records of
       l2     when volunteer referees work, right?




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        1              MS. HEALY:      Objection.     Argumentative.     Also,

        2     there's a legal conclusion in there.

                       MR. YADIDSION:      Is there?

                       MS. HEALY:      There is.

                       THE WITNESS:      Yeah, if you could try to

        .2.   restate it without the word "work," because I don't

        1     agree that they worked.

        &     BY MR. YADIDSION:

                  Q    Okay.    So does ZogSports -- let me rephrase

       1Q     that.

       11               ZogSports does not keep any records of when

       12     volunteer referees volunteered,         right?

       1J.              Correct.

       14         Q    And that's been the policy and practice since

       15     September 2014, right?

       16              MS. HEALY:      Objection.     Asked and answered.

       17               THE WITNESS:     To my knowledge, yes.

       18     BY MR. YADIDSION:

       19         Q    And that's been the policy and practice in

       20     California?

       21         A     To my knowledge, yes.

       22         Q     Throughout the United States?

       23         A     Yes.   And I just want to say that when I say

       24     to my knowledge, it's because like I have said for

       25     anything, there's a chance that somebody could have




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                                                                      Page 156
         1              THE WITNESS:     That's a -- that's a good

         2    point.   The math that I gave you was the number of

         3    times somebody has played, not necessarily the number
         4    of people.

         5    BY MR. YADIDSION:

         6        Q     Okay.   So let's talk about the unique

         7    individuals.

         8        A     Unique individuals, I don't have the data.

         9    We don't have any reports based on that.

       10         Q     So how many times does someone in California

       11     since September 2014 play or participate in ZogSports?

                        We don't have that data.        It could be

       11     somebody like you who played every season for two and

       Ii     a half years, 11 straight times, or it could be

       12     someone who only showed up once.        We don't have that

       1.§.   data.

                  Q     You don't know --

                  A

                  Q     -- how many times, on average, someone

       £Q     participated in ZogSports?
       21

       £1.        Q     You don't keep track of that data?
       23               Our system doesn't have that data.
       24         Q     What is your best estimate?

       25               MS. HEALY:     Objection.     Speculation.




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                                                                        Page 192
        1    clock,     right?

        2           A     Yes.

        3           Q    And when the play clock has 10 seconds

        4    remaining,     referee number two needs to yell out

        5    10 seconds.         When the clock has five seconds

        6    remaining, he/she needs to yell out the final

        7    five-second countdown.

        8                 Is this the policy and practice of ZogSports?

        9           A     It was the hope.      I think the reality was

       10   that it happened sporadically.               I think back in the

       11   day, it happened pretty consistently.

       12           Q    And this was the rule or recommendation since

       13   September 2014, right?

       14           A     It wasn't the rule.      The rule is that you

       15    just need to provide a volunteer referee.              This is an

       16    instruction to the paid referee for how to best

       17    leverage the volunteer referee's support for them to

       18   be able -- for the paid referee to be able to do their

       19    job.

       20           Q    What about calling touchdown, did the

      ~     volunteer referee do that?

                         MS. HEALY:      Objection.      Speculation.

                          THE WITNESS:     The paid referee calls

      £i    touchdowns almost always unless they don't see it,

       25   which is rare.          And if they don't see it, they can ask




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                                                                        Page 193
        1    a volunteer referee for help.

        l               I think my statement would be that the paid

        }    referee is the one who generally calls touchdowns
        i    because they can be very controversial, and you would
        2    want the ambassador of the company being the one

        Q    deciding if a touchdown has happened or not.
        1    BY MR. YADIDSION:
                   Q   And the volunteer referee assists the paid

        ~    referee in doing that?
                        If the paid referee asks for -- for

       11    assistance, but not by default.
                   Q   What about making all calls five to 15 yards
       l}    downfield, for example, completed passes, inlout of
       11    bounds, two-hand touch, et cetera, and calling
       12    penalties, for example, delay of game, pass
       lQ    interference, picks, blocking, et cetera.

       11               Did volunteer referees do that?
                       MS. HEALY:     Objection.         Speculation.
                       THE WITNESS:     Generally, not all of it.           So
       £Q    generally, which I think the best thing I can tell
       II    you, is what I know happens out there.             It's clock,

       ~     inboundslout of bounds, two-hand touch.             The rest of
       23    the stuff was a wish list that was not in reality
       li    happening.

       25    III




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                                                                     Page 196
         1    authority on the field who could decide when to start

         2    and stop that clock.

         3    BY MR. YADIDSION:
         4          Q   And that's been applicable since

         5    September 2014?

         6          A   Yes.

         7          Q   What about making sure you know the clock

        £2.   rules.
        2               Who does that refer to?

                        That would be our hope that a volunteer

       11     referee would know the clock rules.

       1£               My best guess would be that almost none of
       11     them actually know the clock rules.          So it ultimately,

       14     it lands on the paid referee to know the clock rules

       12     and just tell the volunteer when to click start and

       lQ     stop on the stopwatch.

       11           Q   And that practice has been in effect since

       l£2.   September 2014?
                        Yeah.     So in practice, as documented here, it
       £Q     was a hope.      The reality since September 2014 was that

       Zl     the paid referee was the one telling the volunteer

       ££     when to start and stop the clock.
       23           Q   What about timeouts?
       24               MS. HEALY:     Objection.      Vague.

       25     III




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        1    BY MR. YADIDSION:
        2        Q       It says here two timeouts?
        3        A       Yes.   So the same answer, which is that the

        4    paid referee is the one who primarily would be
        5    responsible for timeouts.        In fact, he is responsible

        6    for timeouts.      Even though this document is asking the

        7    volunteer referee to be responsible for timeouts, the
        8    paid referee is actually the one responsible for

        9    timeouts.
       10        Q       What about updating the scoreboard?
       11        A       I don't know.    I don't know what's -- in this

       12    document, it says that the volunteer referee is

       13    responsible for that.       I don't know what the practical

       14    reality is.

       15        Q       What about making all calls downfield,       for
       12    example, completed passes, in and out of bounds,

       11    two-hand touch, et cetera, and calling penalties, for

       1&    example, delay of game, pass interference, picks,

       ~     blocking, et cetera?
                         Yes.   So my answer for that is the same as --

       £1    as up above.       It says almost the exact same thing for
       22    referee two.
       £2                And the answer is that there were really
       24    three things we were seeing the volunteers do, which

       25    is the clock, inbounds versus out of bounds and




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                                                                    Page 198
        1    flagpoles and two-hand touch.          Not the rest of this

        1    list, which was at one point a hope.

        1              In fact, when I coach people, I've told them

        i    you actually don't want your volunteers making

        2    controversial callings, like pass interference.           It

        Q    has to be a head referee who's paid by the company

        1    who's making a call like that.

        8        Q      It says here, use your volunteers.        Make sure

        9    the referees are positioned correctly, and let them

       10    know what calls to look for on the field.

       11              Were paid referees required to instruct

       12    volunteer referees to do that?

       13        A      "Required" is not the right word.        They were

       14    certainly asked to use their volunteers and asked to

       15    gather the referees before the game and explain how

       16    they can help.

       17              The reality is,       I would say, anywhere from a

       ~     0- to 10-second explanation of what they were to do,

       12    and then the game started.

       20        Q      Is there anywhere in the record or any

       21    documents that show that they did spend only about

       22    10 seconds --

       23        A     No.    Just like there's no record that there
       24    was a volunteer at any given game.

       25        Q      So you're basing this on your anecdotal




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                                                                     Page 234
        1    a call and perhaps asking for help from a volunteer if
        2    they didn't see something.
        3        Q       And that's been the policy and practice since
        4    September 2014?
        5        A       Yes.
        6        Q       Okay.   You can put that away.
        7                What's ZogSports' policy or practice when
        ~    there are no volunteer referees to referee a game?
                         MS. HEALY:     Objection.     Asked and answered
       lQ    many times.

       11                THE WITNESS:     Play the game without any
       1£    volunteer referees would be the general rule.
       13    BY MR. YADIDSION:

                 Q       And generally, are there penalties assessed?
                         MS. HEALY:     Again, objection.     Asked and
       lQ    answered.

       12                THE WITNESS:     The rules state that there
       ~     would be penalties assessed.        And I would say
       ~     sporadically they are, depending on the discretion of
       20    the referee to decide it.
       21    BY MR. YADIDSION:
       22        Q       Does it hurt the efficiency if there are no
       23    volunteer referees?
       24                MS. HEALY:     Objection.     Asked and answered.
       25    We did all of this before lunch.           Why are we circling




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        1    back to it?

        2                I'm going to allow this to go on for a little

        3    bit longer, and then I'm going to start instructing

        4    him not to answer, because when we've heard the same

        5    question and answer four times in the same manner,

        6   there's no need to keep doing it other than to harass

        7    and badger the witness.
        8                MR. YADIDSION:    No, I didn't ask that

        9    question.

       10   BY MR. YADIDSION:

       11        Q       Please answer the question.

       12        A       Can you please

       13        Q       Sure.   Does it hurt the efficiency of the

      11     game not to have a volunteer referee?

                 A       That would be an opinion.

                 Q       I would like your opinion, please.



                 Q       Why is that?
                         Back in 2002, the answer might be yes.       But

       LQ    in the last four years, the volunteer referee usage

       £1    has been sporadic at best.        Most of them don't know

       22    the rules.     Many of them are daydreaming.      And so to
       23    not have volunteer referees in most of our leagues,
       £i    and again, there are exceptions.          Sometimes volunteers
       £2    are terrific.       But in general, it has not been very




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        1    helpful to have them.      So the efficiency is not better

        Z    with them or worse without them.

        3              I do have to take a bathroom break soon.
        4        Q     I appreciate that.

        5              Could ZogSports have hired more paid referees

        6    instead of having volunteer referees?

        7              MS. HEALY:     Objection.     Speculation.   Vague.

        8   Asked and answered.

        9              THE WITNESS:     We didn't and haven't.

       10    BY MR. YADIDSION:

       11        Q     So to have an extra set of eyes on the game,

       12    could it have hired additional paid referees?

       13              MS. HEALY:     Objection.     Speculation.   Asked

       14    and answered.
       15              THE WITNESS:     I mean,    I think the answer that
       16    is more specific is we didn't, and we have not done

       17    that.

       18    BY MR. YADIDSION:
       19        Q     Is there a reason why you have not hired

       ZQ    additional paid referees for each game?
       21              MS. HEALY:     Objection.     Asked and answered.

       22    Speculative.
                       THE WITNESS:     Because we feel that one paid

       Zi    referee is enough.     And the volunteers, as I've
       25    explained, it wasn't just about them being on the




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        1    field.   It was a much broader reason why that program

        2    originally started.      There's no comparison between a

        3    paid referee and a volunteer referee, both in the
        4    responsibilities and in the spirit of why one is there

        5    and the other is there.      So no.

        6    BY MR. YADIDSION:

        7        Q     Do you believe a paid referee is capable of

        ~    competently keeping track of the game clock, the play

        2    clock and keeping track of the game?

                       MS. HEALY:     Objection.      Asked and answered.

       11              THE WITNESS:     My answer is that it doesn't

       1£    matter what I believe.       It's happening.

       11    BY MR. YADIDSION:

       II        Q     Now, it's happening?

       12               It's happening.

       16        Q      Does ZogSports have any competitors?

       17        A     Yes.

       18        Q     Who are they?

       19        A     There are hundreds.

       20              MS. HEALY:     Is there a topic that he's

       21    designated on talking about his competitors?           I'm

       22    pretty sure there is not.

       23              THE WITNESS:     I do have to use the bathroom.

       24              MR. YADIDSION:     Okay.       Let's take a quick

       25    break.




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                                                                     Page 248
        1           Q     And has that been the policy and practice
        2    since September 2014 at all locations?
        3           A     Yes.
        4           Q     And what about under, no referee penalties,
        2    it describes here the consequences for not having
             referees.       It says, teams failing to provide a referee
        1    will incur the following penalties per referee that is
        ~    supposed to be provided.         First time, team will start
        2    next game down 9-0 per volunteer referee.
       lQ                 Second time, team automatically gets a loss
       11    added to their record.       Third time, team is removed
       1£    from playoffs.       Playoffs.   Team will start their game
       11    down 14-0 per volunteer referee.
       11                 Is that -- does that accurately describe the
       12    policies and practices of ZogSports since September
       12    2014 at all locations?

       11
       18           Q     Below that it says, if ref arrives more than
       19    10 minutes after game time, team starts next game down
       20    3-0.       If ref arrives after first half completes, team
       21    starts next game down 6-0.
       22                  Does that accurately describe ZogSports'
       23    polices and practices since September 2014 throughout
       24    all locations in the United States?
       25           A      I would say in general, yes.




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        1        Q       I just want to be clear.

        2               MS. HEALY:      You're both talking at the same

        3    time.

        4               THE WITNESS:      Sorry.     I can --

        5               MS. HEALY:      You already answered.      That's

        6    fine.     If you don't know, you don't know.

        7               THE WITNESS:      Yeah,    I don't know.

        8               MR. YADIDSION:        We'll move on to Exhibit 14.

        9                (Exhibit 14 was marked for identification.)

       10               MR. YADIDSION:        This has been Bates stamped

       11    Zog 1.

       12    BY MR. YADIDSION:

       13        Q      Can you explain what Exhibit 14 is?

       14        A       I believe I know what it is just by looking

       15    at it, but I would want to know what the label was on

       16    the file when I submitted it,          just to make sure.

       17                I believe it is a volunteer referee penalty

       18    report, but I'd like to verify that.           Is there a way
       19    to just verify that that is what I -- what we called

       20    it when we submitted it?

       21               MR. YADIDSION:        You want to go off the

       22    record?

       23                MS. HEALY:     No,   just give me a second.

       24                That is correct.

       25                THE WITNESS:     All right.     So I mentioned




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         1    earlier that our referees, when we code them as a
        2     referee in the system and they get access to our
        1     system, would be able to enter scores.          They also can
        ~     enter if there was an injury during the game.          They
        2     can also enter if there was an incident during the
        .§.   game.
         7             Another thing that they can enter is called a
        ~     volunteer ref penalty, that is incredibly sporadically
        ~     used.   For example, when I ran the report for DC,
       1Q     there were no entries in it for the last three years.
       11     I think we can all agree that there was at least one
       1£     time in the last three years where somebody did not
       11     show up as a volunteer.
       11              And so in theory, the way that the system was
       12     designed, was that every single time that happened,
       l.§.   the referee would go enter it in the system.          The
       11     reality is, they didn't do it.          We didn't really ask
       ~      them to do it.    Some people would probably just see
       12     that it was an option.
       20               So it's evidence that the volunteer referee
       21     penalties were not documented very well.          We gave you
       22     what we had.
       23     BY MR. YADIDSION:
       24         Q     Did you instruct them to document the
       25     penalties at some point?




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